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                \USDCSD~~                                             ~                                                               Partner
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Hon. Colleen McMahon
Chief United States District Judge
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Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007-1312

          RE:      GeigTech East Bay LLC v. Lutron Electronics Co., Inc., Case No. 1: l 8-cv-05290
                                                                                                                   &t1u_
Dear Chief Judge McMahon:

        Our firm, together with K.lemchuk LLP, represent Plaintiff GeigTech East Bay LLC
("GeigTech") in this action. We have conferred with counsel for Defendant Lutron Electronics
Co., Inc. ("Lutron") and submit this letter pursuant to Parts I.D and IV.I of Your Honor's
Individual Practices and Procedures to request a 2-day extension of GeigTech's reply to Lutron's
Memorandum of Law in Opposition to Plaintiffs Motion for Expedited Discovery [Dkt. 37].
Lutron agrees to GeigTech's request. The current deadline is Wednesday, July 18, 2018.
GeigTech requests, and Lutron agrees, that the Reply deadline be extended up to and including
July 20, 2018.

        This is GeigTech's first request for an extension. The parties intend to continue
conferring in an effort to agree on other deadlines and procedures consistent with this Court's
practices.

                                                                   Respectfully submitted,




                                                                   Ka an Breyer Schwarz, LLP
                                                                   Jeffrey I. Kaplan

Copies: All counsel of record (via ECF)




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